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        defendant's computer any hardware or software system to monitor his computer use.
 10.    The defendant shall have no contact with any child under the age of 18 without the presence
        of an adult who is aware of the defendant's criminal history and is approved, in advance, by
        the probation officer.
 11.    The defendant shall not loiter in areas where children congregate. These areas include, but
        are not limited to, schools, daycare centers, playgrounds, arcades, amusement parks,
        recreation parks and youth sporting events.
 12.    The defendant shall not be employed in any occupation, business, or profession or participate
        in any volunteer activity where there is access to children under the age of 18, unless
        authorized, in advance, by the probation officer.
 13.    The defendant shall live at a residence approved by the probation office, and not reside with
        anyone under the age of 18, unless approved, in advance by the probation officer.
 14.    The defendant shall not possess any material including videos, magazines, photographs,
        computer generated depictions, or any other forms that depict sexually explicit conduct
        involving children.
 15.    The defendant shall have access to one internet connected device, and all other devices in the
        home shall be password protected by his family, and the defendant shall no be provided
        access to those devices. By 5:00 pm on 11/8/21, the defendant shall only have access to one
        internet connected device. Counsel for the defendant will take possession of any other
        electronic devices.
 16.    The defendant shall notify the probation officer of all computer and other electronic data
        storage devices or media owned or operated by the defendant and members of the residence
        at the commencement of supervision and immediately report any additional software
        purchases, acquisitions, or use during the term of supervision.
 17.    Once the defendant has relocated to the District of Kansas travel is restricted to the D/KS and
        the D/RI for court purposes with pre-approval by pretrial services.
 18.    The defendant must provide a certification that all firearms have been removed from the
        proposed residence.
 19.    Once medically cleared to travel the defendant is required to reside with his sister in the
        D/KS at the address disclosed to pretrial services. The defendant cannot change residence
        without the prior permission of pretrial services.

 On January 1, 2021, Mr. Jackson appeared with his counsel before the Court for arraignment (in an
 remote/Zoom hearing) on an Indictment charging him in Ct 1 with Receipt of Child Pornography
 and in Ct 2 with Possession of Child Pornography. Mr. Jackson entered a plea of not guilty to the
 charges filed against him. The Court accepted his plea and ordered his continued release on the bail
 conditions as previously set.

 RESPONSE FOR SUPERVISION/APPARENT VIOLATION

 Following his release, all of the conditions of pretrial release and the policies and procedures of the
 Location Monitoring Program were reviewed with Mr. Jackson both verbally and in writing. Mr.
 Jackson acknowledged his understanding of all the conditions and what was expected of him to
 remain in compliance with them. He signed the Location Monitoring Program Participation
 Agreement and was provided with a copy for his records.

 On November 15, 2021, Mr. Jackson was approved to leave the District of Rhode Island in the
 company of his sister,          , to travel to her home on                    in Leawood,
 Kansas. Mr. Jackson and               traveled by car and arrived at             residence
 on November 17, 2021.
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